     Case
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      STIP
 1    GABRIEL L. GRASSO, ESQ.
      State Bar Number 7358
 2    SMITH & GRASSO, LTD.
 3    9525 Hillwood Drive, Suite 190
      Las Vegas, Nevada 89134
 4    (702) 868-8866
      gabriel@grassodefense.com
 5    Attorney for REESE
 6
 7                                UNITED STATES DISTRICT COURT

 8                             IN AND FOR THE DISTRICT OF NEVADA
 9
      UNITED STATES OF AMERICA,                 )
10                                              )
                            Plaintiff,          )
11                                              )      Case No.:     2:13-cr-00083-JCM-CWH
      vs.                                       )
12                                              )      STIPULATION TO CONTINUE
13    DARYLL REESE,                             )      SENTENCING
                                                )
14           Defendant.                         )
                                                )      (FIRST REQUEST)
15    _____________________                     )
16
      Certification: This stipulation is filed pursuant to General Order 2007-04.
17
             IT IS HEREBY STIPULATED AND AGREED, by and between the defendant,
18
      DARYLL REESE through his attorney of record GABRIEL L. GRASSO, ESQ., and the
19
20    United States of America, through LISA CARTIER-GIROUX, Assistant United States

21    Attorney, that the sentencing hearing currently scheduled for November 3, 2016, at 10:30
22    a.m., be vacated and continued to a date and time convenient to this court, but no event
23
      earlier than ninety (90) days.
24
             This Stipulation is entered into pursuant to General Order 2007-04 and based
25
      upon the following:
26
27           1.     REESE is currently set for sentencing on Thursday, November 3, 2016.

28           2.     The defense needs additional time to prepare a sentencing memorandum.
     Case
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            3.     The parties agree to this continuance.
 1
            4.     REESE is out of custody and does not object to this continuance.
 2
 3          5.     Denial of this request for continuance would deny the defendant sufficient

 4                 time to be able to assist in his sentencing, taking into account the exercise

 5                 of due diligence.
 6
            6.     This is the first request for a continuance of the sentencing date in this case.
 7
            DATED this 21st day of October, 2016.
 8
      RESPECTFULLY SUBMITTED BY:
 9
10
11           /s/ Lisa Cartier-Giroux                         /s/ Gabriel L. Grasso
      Lisa Cartier-Giroux                             Gabriel L. Grasso
12    Assistant United States Attorney                Attorney for Defendant
13
14
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     Case
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      STIP
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 5    Attorney for REESE
 6
 7                                UNITED STATES DISTRICT COURT

 8                             IN AND FOR THE DISTRICT OF NEVADA
 9
      UNITED STATES OF AMERICA,                  )
10                                               )
                            Plaintiff,           )
11                                               )      Case No.:   2:13-cr-00083-JCM-CWH
      vs.                                        )
12                                               )      STIPULATION TO CONTINUE
13    DARYLL REESE,                              )      SENTENCING
                                                 )
14           Defendant.                          )
                                                 )      (FIRST REQUEST)
15    _____________________                      )
16
      Based upon the submitted Stipulation, and good cause appearing therefore, the Court
17
      finds that:
18
             1.      The defense requires a continuance in order to prepare for sentencing.
19
20           2.      The defense requires a continuance of the sentencing date in order to

21                   complete the Sentencing Memorandum in this case.
22           3.      This stipulation complies with General Order 2007-04.
23
24
                                         CONCLUSIONS OF LAW
25
             1.     Denial of this request for continuance would deny REESE the opportunity to
26
27                  fully prepare for sentencing in this case.

28
     Case
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            2.   Additionally, denial of this request for continuance would result in a
 1
                 miscarriage of justice.
 2
 3          3.   For all of the above stated reasons, the ends of justice would best be served

 4               by a continuance of the sentencing hearing date.

 5
                                           ORDER
 6
 7          IT IS THEREFORE ORDERED that the sentencing hearing currently

 8    scheduled for November 3, 2016, at 10:30 a.m., be vacated and continued to Monday,
 9    February 6, 2017 at 10:00 a.m.
10
            IT IS SO ORDERED:
11
12
13
                                             ____________________________________
14                                           UNITED STATES DISTRICT JUDGE
15
16                                                     October 24, 2016
                                             DATED:
17
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22
23
24
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27
28
